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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                            :       CRIMINAL NO. 22-cr-323 (GJP)
                                                    :
               v.                                   :
                                                    :
MARK HOUCK,                                         :
                                                    :
               Defendant.                           :

               GOVERNMENT’S CONSOLIDATED MOTION IN LIMINE

       The United States of America, by and through its counsel of record, respectfully submits

this consolidated motion in limine addressing three evidentiary issues in advance of trial. First,

the United States moves to preclude Defendant Houck from referring to, or providing evidence of,

the Philadelphia Police Department’s purported decision not to charge Houck, or the Philadelphia

District Attorney’s Office’s decision to dismiss the victim’s private criminal complaint against

Houck for the conduct that is at issue in this case; reference or evidence of state authorities’

charging and prosecutorial decisions are irrelevant, highly prejudicial, and inadmissible hearsay.

Second, the United States moves to preclude Defendant Houck from offering his own out-of-court

statements; these statements are inadmissible hearsay, and allowing Houck to offer his own

statements without taking the stand would deny the Government its right to cross-examine Houck

regarding his self-serving narrative. And, third, the United States moves to preclude Defendant

Houck from introducing improper evidence of, or reference to, his “good” character; such

evidence, which runs afoul of Federal Rule of Evidence 404, is irrelevant and highly prejudicial.




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I.     The Court Should Preclude Reference to, or Evidence of, the local investigation and
       prosecution

       The United States first moves to preclude any direct or implied reference to, or evidence

of, the Philadelphia Police Department’s (PPD) decision to not charge Defendant Houck and the

Philadelphia District Attorney’s Office’s (PDAO) decision to dismiss the victim’s private criminal

complaint for the conduct at issue in this case. Any such reference or evidence is inadmissible

because it is irrelevant, inadmissible hearsay, and unfairly prejudicial.

       A. Relevant Background

       Defendant Houck is alleged to have twice assaulted the victim, in violation of the FACE

Act (18 U.S.C. § 248(a)(1)), on October 13, 2021. See ECF No. 1. On that same day, and a short

time after the alleged assaults, PPD officers responded to the scene and conducted a preliminary

investigation. The responding officers, who were assigned to the PPD’s Civil Affairs Unit, did

not charge Defendant Houck with assault because they were not authorized to do so. Instead, they

advised the victim to file a private criminal complaint. The victim thereafter filed a private

criminal complaint against Defendant Houck charging him with assault and harassment. The

private criminal complaint was prosecuted by the PDAO.

       On October 15, 2021, the FBI commenced a criminal FACE Act investigation into the

incident after being notified of the incident two days after the alleged assaults. Beginning in

January 2021, the undersigned prosecutors were in regular contact with the PDAO regarding the

then-pending state case. The federal grand jury began to hear witness testimony on March 22,

2022, which was during the pendency of the local prosecution. After the undersigned prosecutors

informed the PDAO of the anticipated federal charges against Defendant Houck, the PDAO

dismissed the state case without prejudice on or about April 12, 2022, in lieu of a federal

prosecution. Defendant Houck was thereafter indicted on September 20, 2022. Id.


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       B. The PPD’s Charging and PDAO’s Prosecutorial Decisions Are Irrelevant and Highly
          Prejudicial

       Any reference to, or evidence of, the PPD’s purported decision not to charge Defendant

Houck, or the PDAO’s dismissal of the victim’s private criminal complaint, are irrelevant under

Federal Rule of Evidence 401. See Fed.R.Evid. 401. Any argument or reference to the PPD’s

declination to charge or the PDAO’s dismissal mischaracterizes the facts and suggests that the

federal prosecution lacks merit. The issue before the jury will be whether the United States has

proven each element of the charged federal violations of 18 U.S.C. § 248(a)(1) beyond a reasonable

doubt. The PPD’s and PDAO’s decisions shed no light on Defendant Houck’s factual or legal

guilt of violating the FACE Act. That is, the subjective decisions of state authorities that are not

relevant to the jury’s role as a fact finder does not tend to make any consequential fact “more or

less probable than it would be” otherwise. Id. Thus, any evidence or reference to the PPD’s or

PDAO’s decisions are irrelevant and must be excluded. Fed.R.Evid. 402; see J.W. v. City of

Oxnard, 2008 WL 4810298, at *22 (C.D. Cal. Oct. 27, 2008) (“All that the decision not to

prosecute can accurately show is that the District Attorney was of the opinion that the case should

not be prosecuted.”) (citation omitted); see also United States v. Kerley, 643 F.2d 299, 300-01 (5th

Cir. 1981) (affirming exclusion of evidence of a defendant’s prior state court acquittal because it

was both irrelevant and hearsay).

       Moreover, any reference to, or evidence of, the PPD’s purported decision not to charge

Defendant Houck, or the PDAO’s dismissal of the victim’s private criminal complaint, must be

excluded under Federal Rule of Evidence 403. Under Rule 403, “[t]he court may exclude relevant

evidence if its probative value is substantially outweighed by a danger of one or more of the

following: unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time,

or needlessly presenting cumulative evidence.” Fed.R.Evid. 403. As discussed above, decisions


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made by state authorities have little to no probative value. On the other side of the balance, such

evidence presents a substantial risk of confusing and misleading the jury, of requiring the parties

to engage in a wasteful mini-trial about the basis of those decisions, and of unfairly prejudicing

the Government. E.g., United States v. Lyons, 403 F.3d 1248, 1255-56 (11th Cir. 2005); United

States v. Smith, 145 F.3d 458, 462-63 (1st Cir. 1998); United States v. Tirrell, 120 F.3d 670, 677-

78 (7th Cir. 1997); United States v. Riley, 684 F.2d 542, 546 (8th Cir. 1982); Kerley, 643 F.2d at

300-01. Furthermore, such evidence may improperly and implicitly encourage jury nullification

by suggesting that the jury should not care about the offense because the local authorities did not

pursue it. See United States v. DeMuro, 677 F.3d 550, 565-66 (3d Cir. 2012) (holding that the

district court properly excluded evidence that “had the potential for confusion and opened the door

to jury nullification”).

        Accordingly, the Court should preclude reference to, or evidence of, the PPD’s and

PDAO’s decisions as irrelevant to the federal criminal charges at issue in this case, misleading,

and unfairly prejudicial.

II.     The Court Should Preclude the Defendant From Introducing His Own Out-Of-Court
        Statements

        The United States also moves to preclude Defendant Houck from offering his own out-of-

court statements if offered to prove the truth of the matter asserted. Under Federal Rule of

Evidence 801, a defendant’s out-of-court statements are not hearsay when offered by the

Government against the defendant, but constitute inadmissible hearsay when offered by the

defendant, as they are not in that case “offered against an opposing party” as required by the Rule.

See Fed.R.Evid. 801(d)(2).

        In this case, the Government anticipates that Defendant Houck will attempt to elicit

testimony from witnesses concerning his own self-serving hearsay statements that are not

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inculpatory. Specifically, those statements reference his purported motivation for assaulting the

victim, which was because Defendant Houck was protecting his minor son who was present during

the incidents.

       Defendant Houck should be precluded from offering any of his out-of-court statements into

evidence because they are inadmissible hearsay. The dictates of Rule 801 protect against such

admissions and serve the sound public policy of preventing a defendant from misleading the jury

by offering his self-serving statements without subjecting himself to the truth-seeking function of

cross-examination.

       Moreover, the “rule of completeness” – codified by Federal Rule of Evidence 106 - does

not provide Defendant Houck with an avenue to introduce portions of his statements that are not

offered by the United States. See Fed.R.Evid. 106 (“If a party introduces all or part of a writing

or recorded statement, an adverse party may require introduction, at that time, of any other part –

or any other writing or recorded statement – that in fairness ought to be considered at the same

time.”). Rule 106 provides that a defendant may introduce portions of his own written or recorded

statement only if necessary to correct a misleading implication, or place other admitted statements

into context. Id. Rule 106 thus does not permit Defendant Houck to introduce his own hearsay

statements simply because the United States admitted others, and because they were not written or

recorded. See United States v. Vallejos, 742 F.3d 902, 905 (9th Cir. 2014) (The rule does not apply

if the complete statement does not “serve to correct a misleading impression in the edited

statement”); United States v. Lentz, 524 F.3d 501, 526 (4th Cir. 2008) (Rule 106 does not “require

admission of self-serving, exculpatory statements made by a party which are being sought for

admission by that same party.”) (quotation omitted).




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       The United States may introduce into evidence statements that Defendant Houck made at

the time of the charged offenses, and will not offer those statements in a misleading way such that

the introduction of other statements made by Houck would be warranted. Therefore, if Defendant

Houck desires to introduce his version of events to the jury, he must take the stand, testify under

oath, and subject himself to cross-examination.

III.   The Court Should Preclude Defendant Houck from Introducing Impermissible
       Character Evidence

       Lastly, the United States moves to preclude Defendant Houck from introducing evidence

of, or reference to, his general good character or specific instances of good conduct, including but

not limited to, his charitable work, affiliations with religious organizations, admirable family life,

or other evidence of his standing in the community. Such evidence would constitute improper

character evidence under Federal Rule of Evidence 404.

       Rule 404 generally prohibits the introduction of evidence of a person’s character to prove

that the person acted in conformity with that character. See Fed.R.Evid. 404(a)(1) & (b)(1). The

federal rules provide an exception whereby a defendant may offer evidence of his character, but

only if it relates to a “pertinent” character trait. See Fed.R.Evid. 404(a)(2)(A); see also, United

States v. Pantone, 609 F.2d 675, 680 (3d Cir. 1979) (“Fed.R.Evid. 405 forbids the use of specific

instances of conduct to prove good or bad character . . . unless character ‘is an essential element

of a crime charged.’”) (citations omitted); United States v. Yarbrough, 527 F.3d 1092, 1101 (10th

Cir. 2008) (holding that the Rule makes clear that character evidence in the form of propensity

evidence is not allowed, but that a defendant may offer character evidence adducing a pertinent

character or trait); United States v. Ellisor, 522 F.3d 1255, 1270, 71 (11th Cir. 2008) (affirming

that “[e]vidence of good conduct is not admissible to negate criminal intent”) (quotation omitted).




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       In this case, character evidence offered to prove the general good character of Defendant

Houck – such as his charitable work, affiliations with religious organizations, admirable family

life, or his general good standing in the community – is not admissible because it is not pertinent

to the charged FACE Act violations against him. Although Defendant Houck’s character for law-

abidingness is always “pertinent,” Yarborough, 527 F.3d at 1101-02 (citing Michelson v. United

States, 335 U.S. 469, 476 (1948)), other character evidence is not pertinent to establishing whether

Houck violated the FACE Act. See Gov’t of V.I. v. Grant, 775 F.2d 508, 511-12 (3d Cir. 1985)

(Holding that specific instances of good conduct would violate Rule 405(a)).

       Further, even if evidence of Defendant Houck’s good character or conduct was indicative

of a pertinent character trait, it may be offered only in the form of opinion or reputation testimony,

Fed.R.Evid. 405(a), and not specific acts, unless the “person’s character or character trait is an

essential element of a charge, claim, or defense.” Fed.R.Evid. 405(b); see, e.g., United States v.

Manfredi, 2009 WL 3762966, at *2-5 (W.D. Pa. Nov. 9, 2009) (finding the specific traits of

honesty, integrity, truthfulness, and generosity were not essential elements of tax evasion and other

related criminal charges).

       Accordingly, any evidence of Defendant Houck’s good character or specific acts of good

conduct should be excluded. He should be limited to introducing only general reputation or

opinion evidence concerning a pertinent character trait.

IV.    Conclusion

       For the foregoing reasons, the Government requests that this Court grants its consolidated

motion in limine. The Government further requests that this Court allow the United States to

supplement this motion if additional issues arise that require the Court’s attention. In addition,

because Defendant Houck has not yet provided reciprocal discovery required under Federal Rule



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of Criminal Procedure 16(b), the Government requests the opportunity to supplement this motion

in limine to address any issues triggered by Houck.


                                                      Respectfully submitted,

                                                      JACQUELINE C. ROMERO
                                                      UNITED STATES ATTORNEY

                                                      KRISTEN CLARKE
                                                      ASSISTANT ATTORNEY GENERAL
                                                      CIVIL RIGHTS DIVISION

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                               CERTIFICATE OF SERVICE

       SANJAY H. PATEL, attorney for the United States, hereby certifies that a true and correct
copy of the motion has been electronically filed and accordingly served upon attorney for the
Defendant.

                                                           /s/ Sanjay H. Patel
                                                           Sanjay H. Patel




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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA




UNITED STATES OF AMERICA                        :
                v.                              :        CRIMINAL NO. 22-323 (GJP)
MARK HOUCK                                      :




                                                ORDER


                AND NOW, this ____ day of ___________________202__, after reviewing the

submissions by the Government and defense counsel on the Government’s Consolidated Motion in

Limine, and after a hearing on this matter;


                It is hereby ORDERED that the Government’s Consolidated Motion in Limine is

GRANTED, and for the reasons set forth in the Government’s motion, the defendant shall be prohibited

from seeking to admit the following evidence:


                     1. Evidence regarding the local investigation and prosecution;

                     2. Evidence regarding the defendant’s out-of-court hearsay statements;

                     3. Evidence regarding impermissible character evidence.



                                         BY THE COURT:




                                         ________________________________________________
                                         THE HONORABLE GERALD J. PAPPERT
                                         United States District Court Judge


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